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 5   Attorney for Defendant, Harminder Phagura
 6
 7
 8                           IN THE UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                                CASE NO.: 2:15-CR-00095-GEB
11                   Plaintiff,                               STIPULATION AND PROPOSED ORDER
                                                              TO CONTINUE SENTENCING DATE
12         vs.                                                AND ORDER SETTING NEW SCHEDULE
                                                              FOR DISCLOSURE OF PRE-SENTENCE
13   GURSHARAN PHAGURA,                                       REPORT AND FOR FILING
     HARMINDER PHAGURA,                                       OBJECTIONS TO THE PRE-
14                                                            SENTENCING REPORT
                     Defendants.
15                                                    /
16
17                                             STIPULATION
18         The parties hereby stipulate, and request the Court find the following:
19         1. Defendant HARMINDER S. PHAGURA requests that Judgment and Sentencing
20               date in the above-entitled matter be continued to November 18, 2016 at 9:00 am.
21         2. Good cause is shown for the continuance in that the Probation Officer was not able to
22               disclose the draft pre-sentence report to counsel by the due date of 9/2/16 in that after
23               preparation, a computer crash in the Probation Department caused the draft report to
24               be lost and the draft report had to be re-drafted and was not disclosed to counsel until
25               9/14/16. Defense counsel had disclosed to all parties that he would be out of the
26               country on a scheduled vacation from September 9, 2016 through September 26,
27               2016 and therefore has only recently seen the report. Therefore, a new Judgment and
28               Sentencing Date and Scheduling Order should be ordered by the Court.
     LAW OFFICES OF                                                    STIPULATION & PROPOSED
     MICHAEL R. BARRETTE                                               ORDER; CONTINUE
                                                                       SENTECING DATE

                                                          1
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 1          3. Counsel for the defendants believe that without the continuance, defense counsel
 2             would be denied sufficient time to review and object to the contents of the probation
 3             report within the previous Scheduling Order imposed by the Court and would
 4             prejudice the representation of the defendant, taking into account the exercise of due
 5             diligence.
 6          4. The Government does not object to the requested continuance.
 7
 8
     IT IS SO STIPULATED.
 9
10
     Dated: October 11, 2016                         /s/ Michael R. Barrette
11                                                   Michael R. Barrette, Attorney for Defendant
12                                                   Harminder Phagura

13
14   Dated: October 11, 2016                         /s/ Paul A. Hemesath
                                                     Paul A. Hemesath
15                                                   Assistant United States Attorney
16
17                                     FINDINGS AND ORDER
18
19          The Court finds good cause for the continuance of the date of Judgment and Sentencing:
20          IT IS HEREBY ORDERED that Judgment and Sentencing in this matter is continued
21   to November 18, 2016 at 9:00 am;
22          IT IS FURTHER ORDERED that the SCHEDULE FOR DISCLOSURE OF PRE-
23   SENTENCE REPORT AND FOR FILING OF OBJECTIONS TO THE PRE-SENTENCE
24   REPORT is amended as follows:
25   Date of Referral to Officer:                           6/24/2016
26
27   Judgment and Sentencing Date:                          11/18/2016
28
     LAW OFFICES OF                                                STIPULATION & PROPOSED
     MICHAEL R. BARRETTE                                           ORDER; CONTINUE
                                                                   SENTECING DATE

                                                    2
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 1   Reply or Statement of No Opposition:                 11/14/2016
 2
 3   Motion for Correction of the Presentence Report
 4   Shall be filed with the Court and Served on the
     Probation Officer and Opposing Counsel no
 5   Later Than:                                          11/4/2016
 6
 7   The Pre-Sentence Report Shall be Filed with the
     Court and Disclosed to Counsel no Later Than:        10/28/2016
 8
 9   Counsel’s Written Objections to the Pre-Sentence
10   Report Shall be Delivered to the Probation Officer
     And Opposing Counsel no Later Than:                  10/21/2016
11
12   The Proposed Pre-Sentence Report Shall be
13   Disclosed to Counsel no Later Than:                  Completed 9/14/2016

14
     The Clerk shall send:
15
     COPIES OF THIS SCHEDULE SENT VIA CM/ECF TO:
16
     (x) AUSA
17
     (x) Defense Counsel
18
     (x) USPO
19
20
     Dated: October 12, 2016
21
22
23
24
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26
27
28
     LAW OFFICES OF                                             STIPULATION & PROPOSED
     MICHAEL R. BARRETTE                                        ORDER; CONTINUE
                                                                SENTECING DATE

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